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OR!G!NAL

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    

_______________________________________ X
UNITED sTATEs oF AMERICA
_ sUPERsEDING
~ v. - . £§EQBHBEEQH
sTUART MANASHIL, f safl€ cr, 436 (KMw)
¢ l'.\\__`
Defendant.
_______________________________________ X

COUNT ONE

The United States Attorney charges:

l. From at least in or about 2011, up to and including in
or about 2014, in the Southern District of New York and
elsewhere, STUART MANASHIL, the defendant, and others known and
unknown, willfully and knowingly did combine, conspire,
confederate, and agree together and with each other to commit
wire fraud in violation of Title 18, United States Code, Section
1343.

2. It was a part and an object of the conspiracy that
STUART MANASHIL, the defendant, and others known and unknown,
willfully and knowingly, having devised and intending to devise
a scheme and artifice to defraud, and for obtaining money and
property by means of false and fraudulent pretenses,
representations, and promises, would and did transmit and cause

to be transmitted by means of wire radio, and television

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communication in interstate and foreign commerce, writings,
signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, in violation of Title 18,
United States Code, Section 1343, to wit, MANASHIL, and others
known and unknown, used interstate phone calls and emails, among
other means and methods, to divert funds due and owing to an
entertainment agency (the “Entertainment Agency”) through
fraudulent misrepresentations and the use of false documents
purporting to originate from the Entertainment Agency.

(Title 18, United States Code, Sections 1349.)

FORFE l TURE ALLEGAT I ON

 

3. As a result of committing the offense alleged in Count
One of this Information, STUART MANASHIL, the defendant, shall
forfeit to the United States, pursuant to Title 18, United
States Code, Section 981(a)(l)(C) and Title 28, United States
Code, Section 2461, all property, real and personal, which
constitutes and is derived from proceeds traceable to the

offense alleged in Count One, including but not limited to a sum

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of money in United States currency representing the amount of
proceeds traceable to the commission of said offense.

SUBSTITUTE ASSETS

 

4. If any of the above-described forfeitable property, as
a result of any act or omission of STUART MANASHIL, the
defendant:
a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited

with, a third person;

c. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty;
it is the intention of the United States, pursuant to Title 21,
United States Code, Section 853(p) and Title 28, United States

Code, Section 246l(c), to seek forfeiture of any other property

 

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of the defendant up to the value of the above forfeitable
property.

(Title 18, United States Code, Section 982;
Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

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GEOFFREY s. BERMAN T\'\”
United States Attorney

 

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FOrm NO. USA-33S~274 (Ed. 9-25~58)

 

UNITED STATES DISTRiCT COURT
SOUTHERN DISTRICT OF NEW YORK v

 

UNITED sTATEs oF AMERICA
v.
`sTUAR-r MANASHIL,

Defendant.

 

SUPERSEDING
INFORMATION

38 16 Cr. 436 (KMW)

(18 U.S.C. § 1349.)

GEOFFREY S. BERMAN
United States Attorney.

 

 

 

 

